         Case 1:18-cv-00862-TCW Document 103 Filed 11/28/18 Page 1 of 1




            In the United States Court of Federal Claims

                                                                )
 FMS INVESTMENT CORP., et al.
 __________________________________                             )
                                                                )
 __________________________________                             )
                     Plaintiff(s),                              )                          18-862C et al. (Consolidated)
                                                                          Case No. ______________________
                                                                )
 v.                                                             )                         Thomas C. Wheeler
                                                                              Judge ______________________
                                                                )
 THE UNITED STATES,                                             )
                                                                )
                              Defendant.                        )
                                                                )


                                              NOTICE OF APPEAL

Notice is hereby given that        Plaintiff Windham Professionals, Inc. in the
                                                         (list all parties taking the appeal)

above named case hereby appeal to the United States Court of Appeals for the Federal Circuit from

the
      Final Judgment, as amended by subsequent Order entered in this action on
            (describe document being appealed; e.g. final judgment, order)

September 17, 2018 and October 1, 2018
                                                            .
        (filed date of document being appealed)




                                                                             /s/ David T. Ralston, Jr.
                                                                             _____________________________________
                                                                                     (Signature of Appellant or Attorney)
                                                                             David T. Ralston, Jr.
                                                                                                   (Printed Name)
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